       Case 4:17-cv-00478-BSM Document 38 Filed 04/18/18 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

DINA DAHDAL, M.D.                                                               PLAINTIFF

VS.                               CASE NO. 4:17-CV-478

BRITTANY GODFREY, BYRON HARPER, OFC. SILVA,                                 DEFENDANTS
individually and in their official capacities as
police officers for the city of Little Rock,
CITY OF LITTLE ROCK and
UNITED PAIN CARE, LTD


      MOTION FOR DEFAULT JUDGMENT AGAINST UNITED PAIN CARE, LTD

        1.     Plaintiff previously moved for default judgment which the Court, by order

dated 4/17/18, construed as a motion for clerk’s motion for default and the motion was

referred to the clerk for entry of a clerk’s default. The clerk entered a default also on

April 17, 2018. The Court‘s order said that in the event the clerk’s order is entered,

plaintiff Dahdal would have to seek a default judgment. It is now appropriate for a

default judgment to be entered.

        2.     The complaint alleged breach of contract by defendant United Pain Care,

Ltd. and prayed for judgment in the amount of $925,000 plus attorney’s fee.

       WHEREFORE, plaintiff prays that default judgment be entered in the amount of




                                              1
      Case 4:17-cv-00478-BSM Document 38 Filed 04/18/18 Page 2 of 2



$925,000, plus attorney’s fees, and for all other proper relief.

                                                               Respectfully submitted:

                                                               /s/ R. David Lewis
                                                               R. David Lewis 68030
                                                               Attorney for plaintiff
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading has been
served on the following by the court's ECF/CM system on this 18th day of April, 2018:

Rick D. Hogan
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Little Rock, Arkansas 72201
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Attorneys for City of LR, Godfrey, Silva, and Harper


                                                               /s/ R. David Lewis
                                                               R. David Lewis




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